







THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Supreme Court


  
    
      In the Interest of Mathew M., a juvenile under the age of seventeen, Appellant.
    
  


Appeal from Sumter County
&nbsp;George M. McFaddin, Jr., Family Court Judge
&nbsp;Jeffrey Young, Family Court Judge

Memorandum Opinion No. 2006-MO-044
Submitted November 15, 2006  Filed December 11, 2006&nbsp;&nbsp; 

AFFIRMED


  
    
      
        Chief Attorney Joseph L. Savitz, III, of Columbia, and James H. Babb, of Sumter, for Appellant.
        Attorney General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, and Senior Assistant Attorney General Harold M. Coombs, Jr., all of Columbia, and Solicitor Cecil Kelly Jackson, of Sumter, for the State.
      
    
  


PER CURIAM:&nbsp; In the family court, Appellant moved to quash his delinquency petition on the grounds that S.C. Code Ann. § 16-17-420 (2003), the disturbing schools statute, was unconstitutionally vague and overbroad.&nbsp; The family court denied Appellants motion.&nbsp; We affirm the family courts decision pursuant to Rule 220(b)(1), SCACR, and the following authority: In the Interest of Amir X.S., a juvenile under the age of seventeen, Op. No. 26219 (S.C. Sup. Ct. filed Nov. 6, 2006) (Shearouse Adv. Sh. No. 42 at 23) (holding that the disturbing schools statute is not unconstitutionally overbroad and that a juvenile whose conduct falls clearly within the statutes scope does not have standing to contest the statute on vagueness grounds).
TOAL, C.J., MOORE, WALLER, BURNETT and PLEICONES, JJ., concur.

